

Matter of 160 E. 84th St. Assoc. LLC v New York State Div. of Hous. &amp; Community Renewal (2024 NY Slip Op 06383)





Matter of 160 E. 84th St. Assoc. LLC v New York State Div. of Hous. &amp; Community Renewal


2024 NY Slip Op 06383


Decided on December 19, 2024


Court of Appeals



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on December 19, 2024

No. 117 

[*1]In the Matter of 160 East 84th Street Associates LLC, Appellant,
vNew York State Division of Housing and Community Renewal, Respondent. (Index Nos. 157563/20, 157573/20 and 157580/20)


Jillian N. Bittner, for appellant.
Matthew W. Grieco, for respondent.
New York Apartment Association, Inc., amicus curiae.


Order affirmed, with costs (see Matter of 160 East 84th Street Associates LLC v New York State Division of Housing and Community Renewal , ___NY3d ___ [Case No. 111 decided today]). Chief Judge Wilson and Judges Rivera, Garcia, Singas, Cannataro, Troutman and Halligan concur.
Decided December 19, 2024









